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UNITED STATES DISTRICT COURT
DISTRICT OF DELAWARE
------------------------------------------------------X
EMILY SOUSA,                                          :
                                                      :
                           Plaintiff,                 :   Civil Action No.: 21-cv-00717-SB (CFC)
                                                      :
                  v.                                  :
                                                      :   SECOND AMENDED COMPLAINT
AMAZON.COM, INC., AMAZON.COM :
SERVICES LLC, and LAWRENCE                            :
DORSEY, in his individual and                         :
professional capacities,                              :   DEMAND FOR JURY TRIAL
                                                      :
                           Defendants.                :
------------------------------------------------------X

        Plaintiff Emily Sousa (“Plaintiff” or “Ms. Sousa”), by and through her undersigned

counsel, Wigdor LLP, as and for the Second Amended Complaint in this action against

Defendants Amazon.com, Inc., Amazon.com Services LLC (together “Amazon” or the

“Company”), and Lawrence Dorsey (“Dorsey”) (collectively, “Defendants”), hereby states and

alleges as follows:

                                     PRELIMINARY STATEMENT

        1.       Jeff Bezos has vowed to make Amazon “Earth’s best employer.”1 It is impossible

to approach suchSuch a goal cannot be reached, however, without listening to and following

through on the concerns of your company’swhen male managers are permitted to prey upon

young female employees. and impose negative consequences to drive out of the Company those

who do not go along with their desires.

        2.       Emily Sousa was recruited through Amazon’s University Operations program for

new graduates and joined Amazon as a Level 4 Shift Manager for one of Amazon’s



1
 Musadiq Bidar, Bezos vows to make Amazon "Earth's Best Employer", CBS News (Apr. 16, 2021),
https://www.cbsnews.com/news/jeff-bezos-amazon-employee-care/.
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Pennsylvania facilities straight out of college in mid-2020, overjoyed that she was going to work

for a company she had grown up admiring.

       3.      On one of her first days of training, a male manager compared her to a specific

adult film actress. This manager also told her that “women are too delicate to work at Amazon.”

       4.      Ms. Sousa was appalled and could not believe that this was happening

immediately upon her embarking on her post-college career. She told the Company she was

resigning, but when she mentioned the reasons for her resignation to Human Resources (“HR”)

and described the incidents, she was told that she should stay.

       5.      Despite the fact that the Company clearly found Ms. Sousa to be credible, it

conducted a totally surface investigation. Amazon’s token efforts failed to focus on the correct

dates and coulddid not even identify possible male employees who were working that day and

may have been the person who harassed Ms. Sousa. Unfortunately, this lackadaisical and

insincere “investigation,” which obviously let the male manager off the hook despite these

plainly discriminatory and harassing viewpoints, was a preview of what Ms. Sousa would face in

a more sustained way at Amazon.

       6.      After this sham investigation, Ms. Sousa was moved to a facility in Delaware,

where she was required to start her training all over. Rather than make the effort to get to the

bottom of the situation and misconduct, the Company took the easy way out and just shuffled her

around.

       7.      Defendant Lawrence Dorsey, who eventually became Ms. Sousa’s direct manager

in October 2020, quickly made Ms. Sousa the target of constant harassment and attempts to

cultivatepressure her into a sexual relationship with herhim.




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       8.      Dorsey made repeated sexual advances toward Ms. Sousa and appeared to

fixatefixated on Ms. Sousa’s Japanese heritage in a barrage of more than a dozen lengthy and

unsolicited after-hours personal phone calls. over around three months, with at least five lasting

over an hour and another four lasting approximately an hour or more than 30 minutes. These

frequent unwelcome personal calls from her supervisor greatly impacted Ms. Sousa’s work

environment and caused her tremendous stress as she tried repeatedly to fend off her manager’s

unmistakable sexual designs on her.

       8.9.    Ms. Sousa is an Asian-American woman who was born in Japan. Another

Amazon employee with Asian heritage experienced similar advances from Dorsey and believed

that he may have an “Asian fetish.” In fact, Ms. Sousa was told by a colleague that Dorsey had

heard about and excitedly mentioned that Ms. Sousa had been compared to an “Asian porn

star”—showing Dorsey’s specific sexual interest in Ms. Sousa as an Asian woman (the actress to

whom Ms. Sousa had been compared was not even Asian—Dorsey added that detail himself).

Not only did Dorsey talk at length about his fascination with Japanese culture and tell Ms. Sousa

that he wanted to travel to Japan with her so she could be his “guide,” in a work context he

racially and sexually stereotyped Ms. Sousa by saying that he knew it was “in her nature” to be

“polite and non-confrontational.” Dorsey’s sexual interest and coercive tactics towards Ms.

Sousa were plainly directed towards her protected characteristics as an Asian woman.

       9.10. By talking with other women working at the facility about her experiences, Ms.

Sousa learned that Dorsey had a reputation for flirting with women in the workplace and had a

habit of targeting women who were his subordinates. Dorsey’s modus operandi of cultivating

female subordinates for relationships and “helping” those who he hoped would be or were

receptive was well known, as was his habit of making things more difficult for women who did




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not play along with his flirtations. Indeed, Mr. Dorsey did in fact excuse absences and made

other allowances for a woman who started dating him in the fall of 2020 and who was among his

subordinates.

       10.11. Ms. Sousa was despondent and frightened that thisshe was happening again being

targeted sexually as an Asian woman, and she feared retaliation if she raised another sexual

harassment complaint, even where the situation clearly called for it. Amazon had already shown

that, when she reported clear misconduct, the Company would go through the motions but that

she would bear the burden of the Company’s favored “solution” to the issue.

       11.12. After Ms. Sousa rebuffed hisMr. Dorsey’s advances for a couple of months,

including by repeatedly telling him that she has a boyfriend and was not available to spend time

with him alone socially, Mr. Dorsey demoted Ms. Sousa was demoted by three levels in

retaliation and sent her to work temporarily at a facility in New Jersey. far from her home, where

she was to do physical lifting work as an associate. In discussing the demotion with Ms. Sousa,

Dorsey told underlined the discriminatory and retaliatory animus behind his move by cruelly

telling her, “It’s humiliating. I wouldn’t want to do it – but it can humble people.”

       13.      Now havingThis demotion, even if supposedly temporary, came at a critical time

for Ms. Sousa’s promotion prospects, as feedback for promotions was being provided by

subordinates during the weeks that Ms. Sousa had been stripped of all her direct reports in

Amazon’s systems during the critical peak season. Therefore, she would be without key

subordinate feedback in connection with possible promotion in the spring of 2021 (which was

not at all assured or guaranteed, and she had not been given any promises or representations that

she would be promoted). In addition, Ms. Sousa would miss a crucial opportunity to be observed




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by upper management working as a supervisor, which also essentially quashed her chances for

promotion.

       14.     Dorsey had repeatedly told Ms. Sousa that feedback from direct subordinates was

a crucial component of earning a promotion at Amazon. Being stripped of her direct reports was

a substantial detriment to Ms. Sousa’s eligibility for and any chance of a promotion to a Level 5

managerial position and substantially delayed any prospect of such a promotion for at least the

next year.

       15.     Likewise, the observations of higher-level managers also play a key role in

obtaining a promotion at Amazon. Performance during Amazon’s “peak season” – roughly from

mid-November through Christmas – was particularly important for promotional prospects as

higher-level managers typical make and register their observations and recommendations for

promotion based upon that season. Because she was forced by Dorsey to perform entry-level

work in a different state, Ms. Sousa was denied crucial exposure and opportunities to

demonstrate her strong performance as a Level 4 manager, which also would substantially delay

any real chance for promotion to Level 5 (which is a key jump and is referred to reverently by

employees as “getting your 5”).

       12.16. Ms. Sousa, at the time of the demotion, was being made ill with severe anxiety

under the pressure of her manager’s retaliation and discriminatory treatment, and finally feeling

as though she had no choice, and experiencing severe anxiety, Ms. Sousa she reported Dorsey’s

harassment to Amazon HR. And againAgain, after a sham investigation was conducted, Amazon

quickly announced that it had not found any evidence of harassment and “could not substantiate

her claims.” This supposed failure to uncover evidence was despite the fact that Ms. Sousa had

spoken with various other female colleagues who also saw that Dorsey targeted female




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subordinates sexually, and male colleagues who observed that women who Dorsey was hoping to

become involved with were treated favorably. In addition, Ms. Sousa has learned of at least one

other instance of a formal complaint of harassment or discrimination by Dorsey against a female

employee.

       17.     Eventually, theThe anxiety and physical illness brought on by the serial

harassment and fear of further retaliation drove Ms. Sousa to go out on leave for more than seven

months before being, which prevented her from ever returning to work at the Delaware facility.

Among the physical illness brought on by the harassment, discrimination and retaliation were a

rash, hives, and a ringing in her ears, and Ms. Sousa’s parents noted that she seemingly had

become a different person for a time.

       18.     Over several weeks during early 2021, during and/or shortly after the close of the

HR investigation, Ms. Sousa received many anonymous, harassing phone calls from an

individual whose voice appeared to be that of Dorsey. On these calls, the male voice said things

such as “Emily… you know what I want…” and “Have you figured it out yet?”

       13.19. Due to everything that had occurred and the clear and present danger to her

health, Ms. Sousa asked Amazon to transfer her to another facility where she would not have to

work with or encounter Dorsey. Amazon refused, saying (falsely) that she somehow had to first

return to work at the same facility where her harasser was a manager before any possible transfer

could be discussed or developed. After trying to work on her health for several months and

obtain a transfer away from her harasser, Ms. Sousa was constructively discharged and forced to

seek other employment because of Defendants’ actions in mid-2021. Initially, inIn late 2020,

Ms. Sousa had advised Dorsey that she was resigning, but Dorsey, who was visibly nervous

about the idea of Ms. Sousa leaving the company,Company (as no doubt it would inevitably




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bring his conduct to light), suggested that she take a leave of absence instead. Dorsey’s

nervousness also appeared to be brought on by fears that Ms. Sousa would report his relationship

with one of his subordinates.

        14.20. In 2021, Amazon recently had an opportunity to sincerely examine its policies

and practices and enact meaningful change, as Institutional Shareholder Services, a proxy firm,

recommended that Amazon investors vote in favor of an independent racial audit.2 The vote,

which took place on May 26, 2021 at the Company’s annual shareholder meeting, received only

44% support.3 The result is unsurprising, given that Amazon opposed the audit and asked

shareholders to reject it. Indeed, if Jeff Bezos’Bezos’s shares (which comprised about 14% of

the total vote) were removed from the voting, the audit received majority support.4

        15.21. Ms. Sousa, therefore, has filed this federal action due to Defendants’ conduct,

which violated Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq. (“Title

VII”) and Section 1981 of the Civil Rights Act of 1866, 42. U.S.C. § 1981 (“Section 1981”), as

well as other federal law.5

                                ADMINISTRATIVE PREREQUISITES

        16.22. On May 25, 2021, Ms. Sousa filed a charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”) alleging violations of Title VII and the



2
  See https://www.seattletimes.com/business/amazon-investors-urged-by-proxy-firm-to-vote-in-favor-of-racial-
audit/ (last accessed July 28, 2021).
3
  See https://financialpost.com/fp-work/investors-increase-pressure-on-companies-over-racial-issues (last accessed
July 28, 2021).
4
  See https://www.corporatesecretary.com/articles/shareholders/32599/amazon-sees-significant-support-racial-
equity-audit-proposal (last accessed July 28, 2021).
5
  This case, filed by Emily Sousa, was filed simultaneously with the cases of other female employees similarly
subjected to unlawful discrimination, bias and retaliation at Amazon: Diana Cuervo v. Amazon, et al. (U.S. District
Court, Western District of Washington) (race, national origin, gender discrimination and retaliation); Tiffany
Gordwin v. Amazon, et al. (U.S. District Court, District of Arizona) (race, gender discrimination and retaliation);
Pearl Thomas v. Amazon, et al. (U.S. District Court, Western District of Washington) (race, gender discrimination
and retaliation); and Cindy Warner v. Amazon, et al. (U.S. District Court, Central District of California) (gender
discrimination and retaliation).


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Delaware Discrimination in Employment Act, Del. Code Ann. tit. 19 §§ 710, et seq. (“DDEA”).

On June 9, 2021, Ms. Sousa initiated the Delaware Department of Labor Office of Anti-

Discrimination (“OAD”) charge process by submitting additional documentation required by

OAD. . As of the date of this Amended Complaint, OAD is in the process of preparing a formal

Charge of Discrimination.

        17.23. On May 27, 2021, Ms. Sousa received a Notice of Right to Sue from the EEOC.

        18.      Upon the completion of investigation into Ms. Sousa’s charge of discrimination

by the OAD, and/or the issuance of a Notice of Right to Sue, Plaintiff will seek leave to amend

this Complaint to add DDEA claims against Amazon.6

        19.24. Any and all other prerequisites to the filing of this suit have been met.

                                        PROCEDURAL HISTORY

        25.      On May 20, 2021, Ms. Sousa filed a Complaint against Defendants in this Court

alleging violations on Section 1981.7

        26.      On August 3, 2021, Ms. Sousa filed an Amended Complaint adding claims for

discrimination and retaliation under Title VII.

        27.      On December 13, 2021, this Court dismissed Ms. Sousa’s Amended Complaint

without prejudice and permitted Ms. Sousa to amend her Complaint on or by January 12, 2022.8




6
  Plaintiff expects to receive OAD’s Notice of Right to Sue approximately 30 days after OAD notifies Defendants of
the formal Delaware Charge of Discrimination.
7
  That case, Case No. 1:21-cv-00717-SB, filed by Emily Sousa, was filed simultaneously with the cases of other
female employees similarly subjected to unlawful discrimination, bias and retaliation at Amazon: Diana Cuervo v.
Amazon, et al. (U.S. District Court, Western District of Washington) (race, national origin, gender discrimination
and retaliation); Tiffany Gordwin v. Amazon, et al. (U.S. District Court, District of Arizona) (race, gender
discrimination and retaliation); Pearl Thomas v. Amazon, et al. (U.S. District Court, Western District of
Washington) (race, gender discrimination and retaliation); and Cindy Warner v. Amazon, et al. (U.S. District Court,
Central District of California) (gender discrimination and retaliation).
8
  Case No. 1:21-cv-00717-SB, Dkt. No. 27.


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                                  JURISDICTION AND VENUE

        20.28. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

1343, as this action involves federal questions regarding the deprivation of Plaintiff’s rights

under Section 1981. The Court has supplemental jurisdiction over Plaintiff’s related claims

arising under state and/or local law pursuant to 28 U.S.C. § 1367(a).

        21.29. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) as a substantial

part of the events or omissions giving rise to this action, including the unlawful employment

practices alleged herein, occurred in this district.

                                              PARTIES

        22.30. Plaintiff Emily Sousa is a resident of the State of Delaware. Ms. Sousa is

currentlya former employee of Amazon, where she was employed by Amazon as a Shift

Manager. At all relevant times, Ms. Sousa met the definition of an “employee” under all

applicable statutes.

        23.31. Defendant Amazon.com, Inc. is a Delaware-registered domestic corporation with

operations in Delaware, Pennsylvania, and New Jersey. At all relevant times, Defendant

Amazon.com, Inc. met the definition of “employer” under all applicable statutes.

        24.32. Defendant Amazon.com Services LLC is a Delaware-registered domestic

corporation with operations in Delaware, Pennsylvania, and New Jersey. At all relevant times,

Defendant Amazon.com Services LLC met the definition of “employer” under all applicable

statutes.

        25.33. Defendant Lawrence Dorsey is, upon information and belief, a resident of

Pennsylvania and currently works for Amazon, where he supervised Ms. Sousa during her




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employment at the Company and controlled the terms and conditions of her employment. At all

relevant times, Dorsey met the definition of “employer” under all applicable statutes.

                                  FACTUAL ALLEGATIONS

I.      MS. SOUSA’S BACKGROUND AND HER POSITION AT AMAZON

        26.34. Ms. Sousa is a Japanese -American woman who was born in Japan.

        27.35. In May 2020, sheMs. Sousa graduated from the University of Delaware with a

degree in Communications.

        28.36. Prior to graduatingBefore she graduated, on May 20, 2020, Amazon offered Ms.

Sousa a position as Shift Manager at a starting salary of $50,000.00 per year in addition to a

sign-on bonus of $5,500.00. Ms. Sousa is also was eligible for a second sign-on bonus of

$5,500.00 after the one-year anniversary of her start date. Ms. Sousa iswas further entitled to

Amazon.com, Inc. common stock valued at $29,000.00 subject to the vesting schedule set forth

in her offer letter.

        29.37. Ms. Sousa’s employment began on June 29, 2020, and she started in-person

training on July 6, 2020 at the Company’s Harleysville, Pennsylvania facility.

II.     MS. SOUSA IS SEXUALLY HARASSED DURING HER VERY FIRST WEEK
        ON THE JOB AT AMAZON AND IS TRANSFERRED TO A DIFFERENT SITE

        30.38. On or around July 8, 2020, Ms. Sousa was training in person at the Company’s

Harleysville, Pennsylvania facility.

        31.39. When Ms. Sousa met a male manager and shared her name with him, he replied,

“Emily . . . like Emily Willis.” Immediately after making this comment, the manager made a

face that demonstrated to Ms. Sousa that he knew he had said something he should not have said.

        32.40. Ms. Sousa did not know who Emily Willis was, so she asked, and the manager

replied that Willis was “a famous actress.”



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       33.41. Ms. Sousa later found out that Emily Willis is an adult film star.

       34.42. This manager also told Ms. Sousa that “women are too delicate to work at

Amazon.”

       35.43. Ms. Sousa continued training at the Harleysville facility until August 12, 2020,

when she advised Station Manager Ryan Carrow that she was resigning. Ms. Sousa spoke with

Mr. Carrow on the telephone but did not disclose why she was resigning.

       36.44. On August 17, 2020, HR called Ms. Sousa and asked her to return her laptop.

That same day, Ms. Sousa spoke with Mr. Carrow on the telephone. Ms. Sousa explained that

she was resigning because of the sexual harassment she was subjected to, and Mr. Carrow

offered to have her reinstated. Ms. Sousa accepted the offer of reinstatement, however, she was

required to switchswitched from the Harleysville, Pennsylvania facility to one in New Castle,

Delaware, in order to continue working with Amazon.

       37.45. Ms. Sousa was officially reinstated the day after speaking with Mr. Carrow on

August 18, 2020 and was told to stay home from work until August 30, 2020 to recuperate.

       38.46. Before returning to work for training on August 31, 2020 at her new home site,

DPH4 in New Castle, Delaware, Ms. Sousa took part in a Chime call with five male managers,

including Levi Ray, Aniekan Ukonne, and Mr. Carrow.

       39.47. The managers each took turns describing their positive experiences at Amazon to

Ms. Sousa. To Ms. Sousa, the atmosphere of the call was “cult-like,” and she felt as though she

had been presented as a case study for them to experiment on with pro-Amazon messaging.

       40.48. Upon returning to work, Ms. Sousa was required to entirely restart Academy

training with a six-week training period.




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       41.49. The Company assigned Ms. Sousa to an On the Road (“OTR”) training, even

though she is an Under the Roof (“UTR”) manager. As a result, most of what Ms. Sousa learned

at these trainings was inapplicable to her role as a Load Out Manager.

       42.50. On her first day of training, after she had already finished working for the day,

Ms. Sousa received a Chime message from the Site Proxy, who was Defendant Lawrence

Dorsey, asking that she call him.

       43.51. Ms. Sousa called Dorsey, and he kept her on the phone for nearly an hour despite

Ms. Sousa’s frequent attempts to end the call. Ms. Sousa even advised Dorsey that she was busy

celebrating her sister’s birthday, yet Dorsey would not let her off the phone. This was the first in

a series of bizarre, unwelcome and highly uncomfortable personal phone calls to which Dorsey

subjected Ms. Sousa.

       44.52. On or around September 2, 2020, while training at the Company’s DJE2 facility

in Paulsboro, New Jersey, Ms. Sousa had a meeting in the breakroom with Level 6 manager

Alyssa Alvarez to discuss her experience as a woman in Operations.

       45.53. Ms. Alvarez proceeded to speak about the sexual harassment to which Ms. Sousa

was subjected at the Company’s Harleysville facility in the presence of other employees, which

made Ms. Sousa very uncomfortable and was done without asking her whether she was OK

discussing the matter in public.

       46.54. Also around this time, Dorsey asked Ms. Sousa about what had happened at the

Harleysville facility. Ms. Sousa told him about the sexual harassment to which she had been

subjected. Despite the sensitive nature of this conversation and Ms. Sousa’s expectation that the

conversation would be kept private, Ms. Sousa later found out that Dorsey had told a co-worker

that a manager at Harleysville had compared Ms. Sousa to an “Asian porn star.” The adult film




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actress to whom Ms. Sousa was compared is not Japanese or Asian and Ms. Sousa never told

Dorsey that she was. Dorsey’s factually incorrect elaboration furtherstrongly demonstrates his

fixation on Ms. Sousa’s Japanese race, ethnicity, and national origin, as discussedwell as the fact

that these characteristics attracted him to her and made her the target of his harassment and

discrimination, as illustrated in further detail in this Complaint. Moreover, the coworker who

relayed this story to Ms. Sousa told her that he would be uncomfortable corroborating the story

because he feared retaliation from Amazon and Dorsey.

          47.55. A coworker told Ms. Sousa that just before she began working at the New Castle

facility, Dorsey saw a photograph of her on Amazon’s internal systems. Upon seeing the

photograph, Dorsey said to the coworker, “She’s really pretty, I can’t wait to work with her.”

This also makes Dorsey’s sexual interest in Ms. Sousa clear and provides important background

to his later harassing, discriminatory and retaliatory conduct against Ms. Sousa.

          48.56. Asian women are frequently sexualized throughout societyand fetishized based

upon stereotypes and perceptions regarding their physical characteristics and dispositions. This

has, unfortunately, been an uncomfortable part of Ms. Sousa’s everyday life. She never

expected, however, that she would have to experience this at a company like Amazon, and by her

own supervisor no less.

          49.57. Moreover, throughout her employment at Amazon’s New Castle facility, Ms.

Sousa was frequently asked about her racial and ethnic background based merely upon how she

looked.

          50.58. In one incident, a man came up to Ms. Sousa and said, “ni hao,” a common

greeting in Mandarin Chinese. Ms. Sousa is not Chinese and does not speak Mandarin. When

Ms. Sousa arrived at the New Castle facility, several associates excitedly approached her and




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shouted to each other, “Oh, the Asian manager is back” and “Michell is back,” mistaking Ms.

Sousa for an Asian female manager who had left.

       51.59. These events underscore Amazon’s lax attitude toward allowing its diverse

employees to be treatedtreat colleagues with diverse characteristics as “others” and

condoningtaking insufficient steps to discourage harmful acts of discrimination and harassment

against them.

III.   AMAZON CONDUCTS A SHAM INVESTIGATION INTO THE
       HARLEYSVILLE HARASSMENT

       52.60. On September 4, 2020, Ms. Sousa received an email from Amazon Central

Investigations (“ACI”) Senior Investigator Shazana Cochran to set up a meeting on September 9,

2020, to discuss the sexual harassment at the Company’s Harleysville facility.

       53.61. The investigation ostensibly was largely focused on attempting to identify the

male employee who had harassed Ms. Sousa.

       54.62. After speaking with Ms. Cochran on September 9, 2020, Ms. Cochran called

again the next day for a short two-minute follow-up conversation.

       55.63. On September 22, 2020, Ms. Cochran called Ms. Sousa to discuss the details of

her so-called “investigation.”

       56.64. While discussing the preliminary findings, it became apparent that Ms. Cochran

focused her investigation on May 2020 – which was before Ms. Sousa’s employment with

Amazon had even begun – rather than July 2020.

       57.65. To aid in Ms. Cochran’s investigation, Ms. Sousa supplied the names of several

people she knew towho could help narrow down the list of potential harassers.




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        58.66. Ms. Cochran called Ms. Sousa again on September 25, 2020, to discuss the

investigation. Ms. Cochran had called from her own cell phone rather than from an Amazon

line.

        59.67. Ms. Cochran put forth a list of names of individuals who were the subjects of her

investigation. Of the four names she supplied, two were individuals who Ms. Sousa had already

identified as not being the individual who sexually harassed her.

        60.68. Ms. Cochran proceeded to tell Ms. Sousa that she was uncomfortable conducting

the investigation and said that she was not interested in finding Ms. Sousa’s harasser. Ms.

Cochran then stated, “Do you understand what I mean?” It remains to be determined whether

this was intended as a type of warning to Ms. Sousa not to pursue the matter further.

        61.69. Exhibiting common behavior for Amazon’s HR department, Ms. Cochran was

uninterested in performing her job or intimidated by the prospect of what doing so would mean

for her job, preferring to protect the Company and the harassers it empowers by closing the

investigation without identifying Ms. Sousa’s harasser or even making a concerted effort to do

so.

        62.70. Two days later, on September 27, 2020, Ms. Sousa sent a Chime message to Ms.

Cochran asking what the next steps were in the investigation and offering to assist.

        63.71. On September 29, 2020, Ms. Cochran sent Ms. Sousa an email stating that the

investigation was being closed.

        64.72. Amazon, therefore, closed its supposed “investigation” after investigatinglooking

into the wrong month and then identifyingpresenting potential harassers whoto Ms. Sousa who

she had already ruled out for the investigator.




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        65.73. No one has been disciplined in connection with the clearly sexual and offensive

harassment of Ms. Sousa was forced to endureat the Pennsylvania facility, and Amazon made no

further efforts to identify Ms. Sousa’s harasser.

        66.74. Incredibly, Amazon’s investigators gave up on identifying Ms. Sousa’s harasser,

despite the fact that there could obviously be only a discrete set of employees who were working

at the facility during the given timeframe. It seems highly unlikely, for example, that Amazon

could not easily identify the male managers who were working at the facility during the relevant

day or week, which could then be used to present the Company and Ms. Sousa with a reliable list

of candidates to work through. Yet, to Ms. Sousa’s knowledge, no such effort was made and she

was never presented with a viable, reliable set of possible harassers.

IV.     DORSEY’S DISCOMFITING AND HARASSING CALLS TO AND BEHAVIOR
        TOWARD MS. SOUSA CONTINUE

        67.75. Dorsey continued to make unwanted personal, harassing calls to Ms. Sousa and

also made repeated unwelcome advances that made her feel uneasy and unsafe. Over the three

months dating from August 31, 2020, Dorsey made personal calls to Ms. Sousa on at least

fourteen (14) separate days, with at least five sessions lasting over an hour and another four

lasting approximately an hour or more than 30 minutes (with Dorsey often calling Ms. Sousa

several separate times over the course of these conversations). These frequent unwelcome

personal calls from her supervisor greatly negatively impacted Ms. Sousa’s work environment

and caused her tremendous stress as she repeatedly rebuffed her manager’s obvious sexual

interest in her.

        68.76. By way of example only, on August 31, 2020, Dorsey sent Ms. Sousa an

unsolicited casual ‘selfie’ of himself. He later called Later that day, Dorsey made an unsolicited

phone call to Ms. Sousa to ask herthat lasted 52 minutes. During the call, Dorsey asked Ms.



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Sousa what she thought of his haircut, told her that wehe wanted to “switch it up,” and remarked

that he had “a lot of grays now from working so hard.” UnsureUncomfortable and unsure of

how to respond, Ms. Sousa responded, “Yes, I heard you work very hard. I hope to move up as

quickly as you did.” Dorsey then proceeded to brag to Ms. Sousa about the promotion he had

recently received.

       77.     Dorsey also inquired into where Ms. Sousa went to college. When Ms. Sousa

responded that she had attended the University of Delaware (“UD”), Dorsey said that he had

never been there and would love for someone to “show him around,” making the clear

suggestion that he wanted Ms. Sousa to do so and spend time alone with him away from work.

       78.     Because of this call from a manager, Ms. Sousa was forced to step away from her

sister’s birthday party for nearly an hour. At multiple points throughout the conversation, Ms.

Sousa stated that she needed to return to her sister’s party, but Dorsey would not let her get off

the phone and continued to ask Ms. Sousa about personal matters.

       79.     In furtherance of her attempts to get off the phone, Ms. Sousa told Dorsey that she

would let him go because it was getting late. He responded by telling Ms. Sousa, “You could

call me in the middle of the night and I would answer.” Again, it was patently and unnervingly

clear to Ms. Sousa that Dorsey’s interest in talking with Ms. Sousa was sexual in nature and was

not at all merely “friendly.”

       80.     After the call, Dorsey followed up on his desire for Ms. Sousa to “show him

around” UD, telling her, unprompted, “I haven’t been to UD yet.” Dorsey was unsubtly

reminding Ms. Sousa that he wanted to spend time alone together outside of work. Ms. Sousa, in

order to convey clearly to Dorsey that she was not interested in him romantically, told him that

perhaps they could go there as part of a group.




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       69.81. On September 12, 2020, Dorsey initiated a barrage of 8 lengthy telephone

callcalls with Ms. Sousa atbetween 7:17 PM on September 12, 2020. The call and 8:24 PM.

Together the calls lasted more than an hour and a half, despite Ms. Sousa’s frequent attempts to

end the personal callcalls from a senior employee and manager.

       70.82. NotablyImportantly, Dorsey was not interested in talking to Ms. Sousa about their

work at Amazon. Instead, he directed intrusive questions to Ms. Sousa about her personal life

and her heritage.race, ethnicity and national origin.

       71.83. Dorsey asked Ms. Sousa questions about her hobbies before steering the

conversation toward her Japanese heritage.

       72.84. Prompted by an apparent desire to discuss her Japanese heritage, Dorsey told Ms.

Sousa that he likes anime –, a type of animation and art that originated in Japan. He, and asked

if Ms. Sousa also liked anime. Ms. Sousa bluntly answered “No,” hoping to end the line of

questioning and conversation. Dorsey also conveyed his racially stereotypical belief that

Japanese people are “polite and non-confrontational,” a common racist stereotype of Japanese

people. Dorsey later went a step further and ascribed these characteristics to Ms. Sousa herself

in a work context, showing that he viewed her through the lens of his stereotyped beliefs about

her race/ethnicity and national origin. Ms. Sousa also perceived that this discriminatory belief by

Dorsey was only reinforced by the fact that she also is a woman, as he clearly believed that based

on her characteristics, she was submissive and could easily be made to do as he said.

       73.85. HeDorsey then began talking about Ms. Sousa’s Japanese background and told

her that he always hoped to travel to Japan., Ms. Sousa’s country of origin.

       74.86. Unsure of how to respond and feeling uncomfortable, Ms. Sousa told Dorsey she

could give him an itinerary if he ever did go. Dorsey replied by telling Ms. Sousa, “I need you to




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come with me as my travel guide.” Again, Dorsey was openly expressing a desire to spend time

alone with Ms. Sousa, and Ms. Sousa responded by dodging, redirecting the conversation and

refusing to agree or make plans with him.

       75.87. Feeling even more uncomfortable, Ms. Sousa was able to end the call shortly after

this comment.

       76.88. On September 18, 2020, Dorsey initiated yet another longseries of 8 phone call

withcalls to Ms. Sousa. During this call, which that together lasted for about onemore than an

hour and. Although these calls ostensibly began as a work-related callconversation, Dorsey

again quickly changed the subject and asked Ms. Sousa about her plans for the upcoming

weekend.

       77.89. Again, feeling uncomfortable and cornered, Ms. Sousa did her best to end the call

as soon as she could.

       90.      Ms. Sousa laterDuring this series of calls, Dorsey began to dangle the prospect of

promotion to Ms. Sousa and suggested he had power to ensure that she would get a promotion

and a larger than normal pay increase. Of course, along with such suggestions always comes the

other side of the coin—that if Ms. Sousa displeased him, he also had it in his power to dash her

chances of a promotion or raise.

       78.91. Ms. Sousa learned from a co-worker, Shift Manager Ismael Morales-Ramirez,

that Dorsey frequently made sexual advances toward the women he managed and gave out his

phone number to those women.

       79.92. Mr. Morales-Ramirez told Ms. Sousa that Dorsey had bragged to him that “things

were working out between him and an associate he used to manage.” As Ms. Sousa later

learned, this associate would soon become Dorsey’s girlfriend and receive special treatment.




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       80.93. Another employee, Jessica Cusack, described Dorsey as “a total creep” and

confirmed that he frequently acts inappropriately toward his female subordinates.

       94.     Of the 19 managers at the Delaware DPH4 facility at the time, 16 of them were

men, and Ms. Sousa was one of only three female managers. This lent even more weight and

pressure to the male-dominated feeling of the warehouse workplace and aggravated the pressure

and threat felt by Ms. Sousa as Dorsey repeatedly pursued her and made discriminatory,

stereotyping pronouncements about her and her work.

       95.     In early October 2020, Dorsey commanded Ms. Sousa to formally write up an

associate, Diana Velasquez, for a safety violation. Ms. Velasquez had previously rebuffed

advances from Dorsey similar to which he had subjected Ms. Sousa, and she told Ms. Sousa that

Dorsey and his advances made her feel “uncomfortable.”

       96.     Ms. Sousa also learned from Mr. Morales-Ramirez that Dorsey had said of Ms.

Velasquez, “She has a fat ass,” and commented that “there are so many hot girls” working at

Amazon.

       97.     On another occasion, Ms. Velasquez and another woman walked past Dorsey and

Ms. Sousa. Dorsey could not remember Ms. Velasquez’s name and asked Ms. Sousa what her

name was. Dorsey made it clear that he was talking about Ms. Velasquez and not the woman she

was with by telling Ms. Sousa that he was referring to “the pretty one, not the tomboy one next

to her.” This was one of various occasions on which Dorsey made his stereotypical views of

women and their worth to him apparent to Ms. Sousa, including in the workplace.

       98.     Because Ms. Velasquez had previously rebuffed Dorsey’s advances and here

Dorsey was telling her to discipline her for violations that others had racked up, too, Ms. Sousa

did not feel comfortable disciplining her and refused to do so at Dorsey’s behest. Ms. Sousa




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understood that Dorsey was singling out and disciplining Ms. Velasquez solely because she had

rebuffed his advances and was commanding Ms. Sousa to do his dirty work. Her understanding

was supported by the fact that there were no photographs of the safety violation Ms. Velasquez

had supposedly committed, which would have been commonplace in the issuance of discipline

for the type of violation.

        99.     Ms. Sousa did not formally write up Ms. Velasquez, choosing instead to speak

with her about the alleged safety violation.

        100.    On October 14, 2020, Dorsey initiated another unsolicited phone call with Ms.

Sousa that lasted 31 minutes. On part of this call, Dorsey spoke about Ms. Sousa’s schedule

change to work a different shift. Dorsey stated that he was doing Ms. Sousa a favor by allowing

the shift change and continued to dangle to prospect of promotion in front of Ms. Sousa, telling

her to “follow [his] advice” if she wanted a promotion to Level 5.

        101.    As noted above, the calls discussed in more detail here are only examples of the

many such personal calls and in-person conversations that Dorsey roped Ms. Sousa into, in

which he waylaid her for unwelcome discussions about personal matters, including his love life,

Ms. Sousa’s relationship status, and various outings that Dorsey wanted Ms. Sousa to join him

for outside of work. These unsolicited calls and discussions by Dorsey persisted despite Ms.

Sousa repeatedly indicating to him over the course of weeks and months of calls that she was not

available and could not join him as he wanted her to do. Dorsey’s solicitations were obvious

invitations to go on what would be considered “dates” followed by or involving possible sexual

activity or other physical contact, and Ms. Sousa’s steadfast refusal to entertain or agree to his

invitations are universally understood as a “no” in such situations (go back even farther than the

classic “washing my hair” excuse of decades ago).




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        81.102.        In mid-to-late October 2020, Dorsey became Ms. Sousa’s direct manager.

        82.103.        Shortly thereafter, Dorsey began ignoring Ms. Sousa’s work-related text

and Chime messages. Because Dorsey was her supervisor, Ms. Sousa had to request his

assistance with closing out reports and performing volume estimates of incoming packages

regularly, but these messages were ignored, and Dorsey offered her no assistance or support.

        83.104.        This clearly deliberate cold shoulder approach by Dorsey made it

extremely difficult for Ms. Sousa to fulfill her job responsibilities and in itself negatively altered

her work environment and constituted disparate treatment of Ms. Sousa based upon his sexual

targeting of her as an Asian woman.

        105.   Around this time, Ms. Sousa confided in Mr. Morales-Ramirez about Dorsey’s

advances toward her and his frequent personal phone calls. Mr. Morales-Ramirez told Ms.

Sousa that Dorsey’s conduct was part of a pattern in which he solicited relationships with some

of the women he supervised. Mr. Morales-Ramirez also told Ms. Sousa that in or around August

2020, Dorsey had engaged in similar conduct toward Kylie Hagofsky, an Amazon manager-in-

training.

        84.106.        At one point, Dorsey had complained to Mr. Morales-Ramirez that “Kylie

told me she has a boyfriend,” which Dorsey correctly understood to mean “Leave me alone.”

Dorsey therefore knew exactly what he was doing when calling Ms. Sousa and inviting her to

come out with him, and Ms. Sousa and Mr. Morales-Ramirez immediately understood his

intentions and the negative implications for Ms. Sousa in the workplace. On October 30, 2020,

Dorsey again called Ms. Sousa. The call lasted more than one hour and had absolutely nothing

to do with work.




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       85.107.         Around this time, Dorsey again dangled the prospect of him “helping” Ms.

Sousa to negotiate a promotion to Level 5. Of course, Ms. Sousa would soon learn that this offer

of “help” was only one side of the coin, with the other being negative consequences if she did

not go along with Dorsey’s wishes of a personal relationship with her.

       86.108.         During the call, Dorsey told Ms. Sousa that he was “in Lancaster with a

friend,” seemingly referring to a romantic assignation.

       87.109.         Around early November 2020, Ms. Sousa learned that Dorsey secretly was

dating the associate he had bragged about to Mr. Morales-Ramirez. (i.e., the female subordinate

who Dorsey told Mr. Morales-Ramirez that “things were working out” with).

       88.110.         Around the time Ms. Sousa learned that Dorsey was dating an associate,

Dorsey stopped helping Ms. Sousa at work and ignoredbegan ignoring her work-related calls and

textscommunications. On three or four occasions, he made up pointed excuses for ignoring her

such as, “I was busy with a friend.” This was Dorsey blatantly communicating to Ms. Sousa

that, since she had not given in to his advances and desire for private time with her, she was not

his “friend”, and therefore, would not be getting his assistance or attention.

       89.111.         Dorsey also, however, began to call Ms. Sousa to ask for her advice with

his girlfriend – asking for things like restaurant suggestions and how to get her to “open up”

more. He continued to keep his girlfriend’s identity a secret from Ms. Sousa, even though Ms.

Sousa already knew that he was dating an Amazon associate and who that associate was (though

Dorsey seemed unaware she had this knowledge).

       90.112.          This was in keeping with what Ms. Sousa heard from a male associate,

who Dorsey talked with about how he could get his Amazon associate girlfriend to be more

receptive to sex and engage in specific sexual acts. After growing tired withexhausted by




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Dorsey’s repeated requests for girlfriend advice and his efforts to hide the nature of his improper

workplace relationship, Ms. Sousa asked Dorsey how he had met his girlfriend. After an

awkward silence, Dorsey laughed, quickly changed the subject, and began to talk about the

“bond” he had with his girlfriend.

       91.113.         Ms. Sousa became concerned by Dorsey’s conduct and confided in Mr.

Morales-Ramirez, who told her, “It's probably better to kiss up to him. Lawrence [Dorsey] told

me to kiss up to Ryan [Carrow], and Lawrence probably wants that, too.” After this

conversation, Ms. Sousa made sure to constantly thank Dorsey, apologize to him, and praise him

because she was afraid that he would further retaliate against her.

       92.114.         Ms. Sousa witnessed Dorsey giving his girlfriend special, favorable

treatment at work on several occasions. For example, she was frequently permitted to abandon

her work responsibilities to spend time with Dorsey.

       115.    Dorsey assigned his girlfriend, a Level 1 associate, to wear a maroon “Process

Guide” vest, which indicated that an employee had a higher status than the yellow vests typically

worn by associates. The maroon vest is typically given for strong performance and usually given

to Level 2 associates shortly before expected promotions to Level 3 shift assistant positions.

Maroon vest associates are given extra responsibilities and are frequently relied on by Level 3

shift assistants and Level 4 managers to help out with additional tasks beyond those expected of

most Level 2 associates. This practice also flaunted to Ms. Sousa and other women the fact that

those who went along with Dorsey’s desire for personal, including sexual, relationships would be

rewarded, whereas those who did not would not receive such advantages and could, in fact,

suffer negative consequences.




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       116.    To be sure, Dorsey’s girlfriend did not earn her maroon vest as other Level 2

associates had to do. It was apparent to those in the know that she was given her vest solely

because she was Dorsey’s girlfriend. In fact, her performance was sorely lacking and other

associates pointedly wondered aloud how she had received her vest and why it had not been

taken away from her.

       117.    The maroon vest ensured that Dorsey’s girlfriend would be in line for a promotion

to Level 3. Of course, in his advances to Ms. Sousa, Dorsey had dangled the prospect of

promotion and the favoring of this female employee was no doubt a part of the same pattern of

behavior.

       93.118.         Ms. Sousa was also told by a co-worker that Dorsey adjusted his

girlfriend’s timecard to account for missed shifts.

       94.119.         At one point, Ms. Sousa sent Dorsey a “selfie” of her with her then-

boyfriend, hoping he would abandon or at least tone down his advances. Dorsey, unfortunately,

did not take the hintrelent.

       95.120.         During Dorsey’s long phone calls to Ms. Sousa, which often would

typically occur while Dorsey was driving home from work, Ms. Sousa would say, to try to

diplomatically end the phone call, “I’m sure you are busy, I’ll let you get back to work,” or “I’m

sure you’ve had a long day, don’t you want to listen to music on your trip home?” Dorsey

respondedwould respond, “We don’t just have to talk about work.”

       96.121.         Dorsey also repeatedly raised the possibility of hanging outspending time

with Ms. Sousa outside of work – a clear demonstration that he was interested in a romantic and

sexual relationship. Ms. Sousa made it clear to Dorsey that she was only interested in hanging

out outside of work in a group situation and emphasized that she was in a serious relationship.




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This was a clear rebuff of Dorsey’s advances. Notably, Dorsey demonstrated that he understood

such rebukes to mean that a woman is not interested when he complained to Mr. Morales-

Ramirez that Ms. Hagofsky had told him she had a boyfriend in response to his advances.

       97.122.         Unfortunately, Ms. Sousa learned throughout her employment that this

predatory, quid-pro-quo behavior was commonplace for Dorsey. This conduct by Dorsey

towards other women also had a pronounced negative impact on Ms. Sousa’s work environment

and the pressure she felt on herself by Dorsey, as she saw that in order to advance and be

supported under her supervisor one might have to give in to his advances.

       98.123.         In speakingtalking about Dorsey with others, one of Ms. Sousa’s

subordinates said, “I really don’t like him. He makes me feel uncomfortable.” Ms. Sousa

suggested the co-worker report the situation to HR. if she felt that way. The co-worker replied,

“No, I really don’t want to do that.”

       99.124.         Another co-worker, Huyen “Holly” Bowers, a Shift Assistant, who is of

Vietnamese heritage, described similar advancesbehavior from Dorsey. The co-worker told Ms.

Sousa that Dorsey frequently called her and insisted on discussing her personal life. The co-

worker also despite the fact that she was married. Ms. Bowers told Ms. Sousa that she wondered

whether Dorsey had an “Asian fetish.”

       100.125.        Ms. Sousa, based upon Dorsey’s steering the conversation

subjects,towards her racial/ethnic and national heritage and his apparent excitement that she had

been compared to an “Asian porn star,” also believed that he had chosen her for harassment and

cultivating a personal, sexual relationship due to her race as an Asian-American of Japanese

descent.




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       101.126.        In another incident, Ms. Sousa witnessed a conversation between Dorsey

and a Black male associate who had been passed up for promotion.

       102.127.        Following the conversation, Ms. Sousa had a separate conversation with

the associate and told him that she would keep an eye out for open positions and let him know

about opportunities for advancement.

       103.128.        The associate thanked her and, but told her that Dorsey, “Doesn’t care

about me. He only wants to help the girls out.” Indeed, employees also voiced their opinion to

Ms. Sousa that white managers were promoted more quickly than non-white managers at the

facility, and that although one did have to be hardworking and efficient to be promoted, non-

white managers generally had to volunteer for additional projects and make other special efforts

to be noticed and advance. These opinions were in keeping with Ms. Sousa’s own personal,

firsthand observations as well.

       104.129.        Dorsey’s constant harassment of Ms. Sousa caused her to experience

extreme anxiety that manifested in physical symptoms. Around this time, her family also noticed

that she was behaving differently and was quieter than normal.

       105.130.        Ms. Sousa’s anxiety was driven in part by the fact that she felt extremely

comfortableuncomfortable and apprehensive about reporting Mr. Dorsey to Amazon.

Specifically, she feared retaliation by Dorsey and the Company if she reported his harassment,

especially in light of the fact that she had already once reported sexual harassment and Amazon

closed the investigation without even identifying a suspect and required her to transfer to a new

facility to keep her jobplausible suspect.

       106.131.        Despite Dorsey’s predatory behavior, he was promoted from Level 5 to

Level 6 on or about December 6, 2020. This further ratified the Company’s tolerance of his




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conduct in the eyes of Ms. Sousa, particularly as his modus operandi of preying on female

subordinates was apparent to those who she talked with at work.

V.     MS. SOUSA IS DEMOTED BY THREE LEVELS AFTER STEADFASTLY
       REFUSING TO ENTERTAINGIVE IN TO DORSEY’S ADVANCES

       107.132.        Throughout October and November, Dorsey placed pressure on Ms. Sousa

to discipline associates more harshly.

       108.133.        Specifically, Dorsey told Ms. Sousa that she was “too soft” and although

he knew it was “in her nature” to be “non-confrontational,” she needed to write up more

associates. Dorsey therefore had again utilized the stereotype of Japanese people being “polite

and non-confrontational,” now in a work context as ammoammunition against Ms. Sousa to

criticize her performance because of her Japanese “nature.”

       109.134.        Ms. Sousa followed these directionscomplied and began to “write up”

employees more frequently and in the manner that Dorsey instructed her. This led to HR

advising Ms. Sousa that she was not writing up employees the correct way, despite following

Dorsey’s specific instructions.

       110.135.        Ms. Sousa is not aware of Dorsey telling any other managers to write up

more employees or that they supposedly were too nice. This was, no doubt, the result

ofattributable to Dorsey’s stereotyped view of Ms. Sousa as a “polite and non-confrontational”

Japanese woman.

       136.    In mid-November 2020, Mr. Carrow and Dorsey approached Ms. Sousa to ask if

she would be willing to permanently move to a new Amazon facility. Ms. Sousa ultimately

declined the transfer because the facility was far away and she was not offered relocation

expenses.




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       137.    Ms. Sousa later learned, however, that Michael Fanelli, a white male Level 4

manager, was offered a promotion to Level 5 if he accepted the transfer. This opportunity was

not offered to Ms. Sousa, even though she began working at Amazon several months before Mr.

Fanelli.

       138.    Mr. Fanelli accepted the transfer to the new facility and was given a promotion by

Dorsey and Mr. Carrow. At this time, Dorsey and Mr. Carrow also promoted Aaron Kalish,

another white male, to Level 5. Messrs. Fanelli and Kalish, both white males, were the only

people promoted to Level 5 around this time.

       111.139.        On November 20, 2020, Ms. Sousa was demoted (temporarily demoted,

she was told) from Level 4 to Level 1 and reassigned to the Company’s Swedesboro, New Jersey

facility, ostensibly due to low headcount at one of Amazon’s New Jersey facilities.

       112.140.        Ms. Sousa initially found out from a co-worker that she was being

demoted. Later that day, Ms. Sousa confronted Dorsey about the demotion. She was upset that

all of her co-workers seemed to know about her demotion, and that somehow she was the last to

know about it. Ms. Sousa told Dorsey, “I need a manager more than I need a friend,” and

advised him that in the future she wanted to be the first to know about his and Amazon’s

decisions about her.

       113.141.        Ms. Sousa asked Dorsey whether she was at risk of losing her job, and he

told her that she was “doing fine” (which seemed strange considering the demotion) and that he

was planning on firing another manager.

       114.142.        Dorsey then proceeded to discuss the performance of all of Ms. Sousa’s

co-workers. After saying, “I really shouldn’t show you this,” he showed Ms. Sousa a portal that




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contained the anticipated (though by no means guaranteed) promotion dates for everyone he

supervised.

        115.   Ms. Sousa’s anticipated promotion date was shown in the portal as March-May

2021.

        143.   Dorsey then advised Ms. Ms. Sousa’s anticipated promotion date was shown in

the portal as March-May 2021. This was roughly in-line with the boilerplate timeframe provided

in Ms. Sousa’s offer letter, which stated that she would be “eligible for a performance

assessment and compensation adjustment in calendar year 2021. Ordinarily this process occurs

in April.” (emphasis added). Notably, the offer letter does not guarantee any promotion or raise,

but rather states that Ms. Sousa would merely be eligible for one. Moreover, the offer letter

makes clear that this is simply the first time that Amazon would consider such a move for a

given employee, and this was not unique or tailored to Ms. Sousa (as Dorsey appeared to be

trying to suggest, perhaps by way of misleading and soothing Ms. Sousa).

        144.   At any rate, despite this supposed promotion timeline, Ms. Sousa never did

receive any promotion.

        116.145.      Dorsey then advised Ms. Sousa to stop being kind to her subordinates and

that, if she “wrote them up,” they would become more productive because “they’ll be intimidated

by you.” Again, this perception of Ms. Sousa was no doubt a result of Dorsey’s prejudiced view

of her as a “polite and non-confrontational” Japanese woman.

        117.146.      During the meeting, Ms. Sousa told Dorsey that she was disappointed

about the demotion and about being sent to New Jersey. He warned her that among the

employees considered for demotion, she purportedly was “the obvious choice.” Dorsey told Ms.

Sousa that the choice for demotion supposedly was between her, Dana Dockery, a black woman,




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and Mike Clugston, a white male, but that he did not want to demote Mr. Clugston and send him

to New Jersey because he planned to promote him. He then statedDorsey (her harassing

supervisor) did not want to interfere with the potential promotion of that male colleague. He

then claimed that sending Ms. Sousa was “the only option” as far as who would have to go to

New Jersey and be “an overpaid associate.” Upon information and belief, Dorsey didhad not

makemade sexual advances toward Ms. Dockery.

       147.    Notably, there was no imminent promotion planned for Mr. Clugston and this

promotion was not guaranteed. In, fact, his projected promotion timeline was roughly the same

as Ms. Sousa’s and he was not actually promoted until Spring 2021.

       148.    Moreover, Dorsey’s admission that he did not want to hurt Mr. Clugston’s

chances of promotion was a direct acknowledgment and admission that the demotion would in

fact harm, if not sink entirely, Ms. Sousa’s chances of a promotion, or those of anyone else

subjected to the demotion.

       149.    Dorsey had deliberately chosen to harm the chances of promotion for Ms. Sousa,

a Japanese woman who had rebuffed his advances, rather than those of Mr. Clugston, a white

male, or another female colleague who he seemingly had not approached.

       118.150.       Only one other employee – who was known to be a poor performer – was

sent to New Jersey. ThisThat employee, among other things, had fallen asleep during training

and continued his poor performance. Ms. Sousa was alarmed that she was being sent to New

Jersey with just one other employee who was such an established poor performer. She raised

this to Dorsey and he acknowledged that the other employee was “not strong.”

       151.    Of course, despite Dorsey’s statement that he had to choose between only a few

employees for demotion, there were, in fact, many employees who could have been demoted,




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including employees at Levels 1-3, as well as other Level 4 managers such as Mr. Morales-

Ramirez and Brandon Hess (among just two examples among many Level 4 managers with

similar seniority to Ms. Sousa). Indeed, Mr. Hess, a white male, had identical seniority at

Amazon to Ms. Sousa.

       152.    Likewise, given that the work to be performed at the New Jersey facility was

Level 1 work, it would have been entirely possible (and more efficient) to send a Level 1 or 2

associate rather than demoting Ms. Sousa.

       153.    Indeed, Ms. Sousa asked Dorsey why he didn’t simply send a Level 1 associate to

New Jersey. He replied that Amazon had “tried that” and it was “too complicated” so it was

“easier to send a manager.” Ms. Sousa relayed this explanation to Mr. Morales-Ramirez who

called it “a load of crap.” Dorsey’s explanation is not believable, and Ms. Sousa is not aware of

any other instances of managers being demoted in this manner.

       119.154.       Ms. Sousa’s demotion also came during the holiday season – Amazon’s

busiest time of the year and the time that is most significant in evaluating whether employees

will be promoted. For this reasonsreason, the demotion denied Ms. Sousa an opportunity to be

considered for promotion on the same terms as her colleagues and damaged her ability to be

promoted in general, as she would be away from her home facility and performing tasks well

below her managerial level.

       155.    By demoting Ms. Sousa to a position in which she would not be supervising

anyone, Dorsey severely harmed Ms. Sousa’s opportunities for promotion. Specifically,

Amazon promotions are largely based on performance reviews created by the employees being

supervised. If Ms. Sousa did not have anyone to supervise, it would substantially limit her

ability to be promoted.




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       156.    In fact, Dorsey was well-aware of the importance of subordinate reviews. On

multiple occasions throughout Ms. Sousa’s employment, Dorsey pressured her to give him good

reviews and once called her to explain the importance of these reviews. Ms. Sousa understood

that Dorsey was intimidating Ms. Sousa to give him good reviews.

       157.    Dorsey also explained to Ms. Sousa that good reviews from his subordinates were

crucial for his own chances of being promoted to Level 6.

       158.    Likewise, at the end of the peak season, all of the managers gather together to

give each other feedback on their performance through the busy holidays. These discussions

also have a significant impact on promotional opportunities and Ms. Sousa was again denied the

chance to be present to prove her worth, therefore harming her chances of promotion.

       120.159.        Dorsey further advisedsaid to Ms. Sousa that she did not need to go to

New Jersey if she did not want to, but he already “gave her name to the site lead,” and “it would

look bad” if she did not go, strongly suggesting in tone and word that it was already done, and

that she did not actually have a choice in the matter if she was going to stay in her job.

       160.    BelievingSeeing that she had no other choice and seeing noor real alternative, Ms.

Sousa acquiesced to the demotion.

       121.161.        Dorsey also wistfully and cruelly commented to Ms. Sousa about the

demotion that, “It’s humiliating. I wouldn’t want to do it – but it can humble people.” This

decisively confirmed the retaliatory and discriminatory motivation behind her selection for

demotion by Dorsey.

       122.162.        When Ms. Sousa emerged from the meeting with Dorsey, she was visibly

shaken, and Shift Assistant Jess Cusack approached her to ask if she was okay. Ms. Sousa

replied that she did not know what to think about Dorsey.




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       123.163.       Ms. Cusack stated that she had heard that Dorsey does not treat female

employees well unless he “has a use for them,” and that he was talking to several women at

work, including the female Driver Trainer.

       164.    Ms. Cusack, a Level 3 employee, had previously made her displeasure with

Amazon management, and Mr. Carrow specifically, well-known and had complained to Amazon

HR about Mr. Carrow. Dorsey himself had noted that Cusack was among their very best

employees. However, once Ms. Cusack had complained about Mr. Carrow to HR, she was

treated unfavorably by management.

       165.    Ms. Cusack interviewed for a Level 4 position and was told she was not ready for

promotion, despite being an outstanding employee. This was, no doubt, retaliation for Ms.

Cusack’s complaint against Mr. Carrow.

       166.    Another employee, a Shift Assistant named PJ Redmond, told Ms. Sousa that he

thought it was “messed up” that she was being demoted.

       167.    Other employees also expressed that they thought Ms. Sousa’s demotion was “not

right” or “unfair.” Many of these employees also expressed that they were relieved they were

not the ones being demoted. This also illustrates that to all appearances any number of other

people also could have been sent to the New Jersey facility temporarily, far beyond the three

people who Dorsey claimed he supposedly had to choose from.

       168.    After meeting with Dorsey, Ms. Sousa sent a Chime message to her mentor at

Amazon, Russ Morrison, who had been one of her instructors during training. Specifically, Ms.

Sousa told Mr. Morrison that Dorsey was sending her to a new site to perform Level 1 work and

asked, “Is this a typical request of a new manager?” Ms. Sousa also stated her belief that the

demotion would “set [her] back” for her Level 5 promotion. Mr. Morrison never responded.




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       169.    Ms. Sousa frequently reached out to Mr. Morrison to ask him questions about

Amazon and her employment. This was the only time he did not respond.

       170.    Later that night, after working hours, Dorsey initiated another lengthy telephone

call with Ms. Sousa that lasted one hour and 40 minutes. Dorsey stated he was calling Ms. Sousa

“to check up” on how she was doing.

       171.    On November 24, 2020, while Ms. Sousa was assigned to the New Jersey facility,

Dorsey again called Ms. Sousa 4 times, totaling 51 minutes.

       172.    On her very first day at the New Jersey facility, Ms. Sousa told the associate

working next to her that she was a Level 4 manager but had been assigned to perform Level 1

work in this New Jersey facility. The associate, clearly understanding the implications of the

demotion, responded, “Damn, that sucks.”

       124.173.       Nearly every day during which Ms. Sousa was required to work as a Level

1 employee in New Jersey, she was sent home early because the facility had enough workers.

       125.174.       While working in the New Jersey facility, Ms. Sousa was required to

perform far less desirable work duties at far less desirable hours. While working at the New

Jersey facility, Ms. Sousa was required to perform arduous and repetitive physical labor for

hours on end, including but not limited to lifting packages, sorting packages, bringing delivery

bags (called “routes”) to drivers during heavy volume, and removing packages from conveyer

belts and organizing them for other associates. These manual Level 1 job duties were

farcompletely different from her usual Level 4 management duties, which involved supervising

associates, running audits, and ensuring that the facility was running smoothly.

       126.175.       Although Ms. Sousa was a day shift manager in the New Castle facility,

she was required to work an overnight shift, beginning at approximately 11:00 p.m. in New




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Jersey (as compared with her normal daytime shift in Delaware). Moreover, her commute to the

New Jersey facility was double the length of her usual commute. In fact, the commute was so far

that Amazon offered to pay for Ms. Sousa to stay in a hotel, rather than sleep in her own bed.

        127.176.        Ms. Sousa was confused and frustrated by the fact that she was told she

was not needed in New Jersey and began to believe that Dorsey and the Company – the actions

of which were based almost entirely on Dorsey’s input and perspective – waswere trying to force

her to resign.

VI.     MS. SOUSA TAKESIS COMPELLED TO TAKE A LEAVE OF ABSENCE DUE
        TO THE STRESS AND DETERIORATING HEALTH CAUSED BY DORSEY’S
        DISCRIMINATION, HARASSMENT AND RETALIATION

        128.177.        In or about October 2020, Ms. Sousa began experiencing extreme stress as

a result of Dorsey’s constant harassment.

        178.     The stress was so severe that Dorsey’s constant harassment of Ms. Sousa

experiencedcaused her extreme anxiety that manifested in physical symptoms. Around this time,

her family also noticed that she was behaving differently and was quieter than normal.

        129.179.        Ms. Sousa’s demotion caused her anxiety to intensify further, and her

physical symptoms – including a rash, hives, and a ringing in her ears – that required medical

attention. also worsened significantly.

        180.     Ms. No longer able to deal with the intense anxiety and her worsening health, Ms.

Sousa was visited her primary care physician for treatment. Her doctor then referred her to a

psychiatrist who she began seeing and continues to see on a monthly basis.

        181.     Ms. Sousa’s psychiatrist prescribed two medications to combat her symptoms of

anxiety and continuesdepression.

        130.182.        In addition to seemonthly visits with her psychiatrist, Ms. Sousa also sees

a therapist regularlyon a monthly basis to deal with the emotional distress caused by theDorsey’s


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constant harassment, her demotion and other retaliation, and Amazon’s refusal to do anything

aboutto address the situation or make it so that she could return to work safely.

       131.183.        Ms. Sousa’s level of stress increased significantly after her

banishmentremoval and demotion to the New Jersey facility and Level 1 role.

       132.184.        Upon returningbeing scheduled to return to work in Delaware from New

Jersey, Ms. Sousa sent Dorsey a Chime message on December 1, 2020, advising him that she

intended to resign.

       133.185.        After receiving Ms. Sousa’s Chime message, Dorsey called Ms. Sousa.

He stated that he called to discuss herMs. Sousa’s resignation and asked her to consider taking a

leave of absence instead.

       134.186.        When Dorsey asked why Ms. Sousa wanted to resign, she told him that it

was due to stress from being demoted, having her demotion shared with others, and having her

confidential information shared. Although Ms. Sousa did not tellsay it to Dorsey, his behavior –

including, but not limited to, his persistent sexual advances and his decision to demote Ms. Sousa

– was herthe primary motivating factor in her decision to resign.

       135.187.        On this call, Dorsey askedonce again shifted the conversation from work

to Ms. SousaSousa’s personal life. Specifically, Dorsey inquired about herMs. Sousa’s

boyfriend at the time and asked, “How available are you?” When Ms. Sousa asked what he

meant by that, he responded, “I don’t know how serious you and your boyfriend are, I was just

asking.”

       188.    Ms. Sousa began to experience extreme anxiety as a result of Dorsey’s

inappropriate inquiries, particularly after his open retaliation against her, and began to cry.

Dorsey then said that he was asking these personal questions for a “friend,” though it still was




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clear that Dorsey was inquiring for himself. At this point, Ms. Sousa became extremely

anxiousprovided only short answers to mask her crying and wanted nothing more than to end the

call. PerhapsThis conduct made it all the more obvious that Dorsey would not relent and that

Ms. Sousa had to seek assistance in dealing with this treatment and the situation.

        136.189.      Dorsey asked Ms. Sousa how she felt about dating this supposed “friend,”

but, perhaps sensing Ms. Sousa’s anxiety, Dorsey then that he was pushing Ms. Sousa harder

than he wanted to at that point, turned backthe conversation to Ms. Sousa’s leave of absence and

advisedtold her that the leave would be unpaid.

        190.   Once Ms. Sousa regained her composure, Dorsey said to Ms. Sousa, “Tell me you

will consider it,” supposedly about dating his “friend.” This was stated as a command, not a

question, and Ms. Sousa understood and fully felt the pressure Dorsey was placing on her.

Dorsey also demanded, “Will you think about it? Tell me you’ll think about it. Because he’s

really into you.” Before hanging up, Dorsey stated, “I’ll call again to check on you. You sound

stressed.”

        137.191.      Dorsey called again on December 4, 2020 to updatetell Ms. Sousa onabout

her leave status. He told her that her leave would begin on December 8, 2020, and that she

should use her accrued paid time off (“PTO”) days for December 1, 2020 through December 7,

2020.

        138.192.      He thenUnbelievably, Dorsey yet again inappropriately turned the

conversation back to Ms. Sousa’s personal life and asked about her plans with her boyfriend at

the time when he returned from the military.

        193.   Ms. Sousa later learned that, also in December 2020, Dorsey had urgently asked a

male colleague, “Did you say anything to Emily? Did you tell Emily about [the name of the




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female employee who Dorsey was dating]?” The male employee told Dorsey that he had not out

of fear for his job and other retaliation.

VII.    AMAZON CONDUCTS A SECOND SHAM INVESTIGATION AND
        CONSTRUCTIVELY DISCHARGES MS. SOUSA

        139.194.        On January 11, 2021, Ms. Sousa contacted HR Manager David Markman

regardingto report Dorsey’s behavior. Ms. Sousa was particularly afraidhad to overcome a lot of

fear to file an HR complaint against Dorsey because she fearedbelieved he would further retaliate

against her. Moreover, having already filed a previous HR complaint for sexual harassment, Ms.

Sousa was well aware of Amazon’s systemic refusal to properly investigate such complaints and

feared reprisal.

        140.195.        That very night, Ms. Sousa received a text message from Dorsey saying,

“Hey Emily how are you?”

        196.    Shortly after Ms. Sousa complained to HR, Dorsey confided to a male colleague

that he was worried he would be fired. He disclosed that Ms. Sousa’s complaint against him was

not his first and that a woman at the Amazon facility in King of Prussia, Pennsylvania had

previously filed an HR complaint against him. Ms. Sousa was told that Dorsey had commented,

“Emily reported me. I had to give HR my phone and text records. It’s embarrassing… That girl

at DPH2 [King of Prussia] reported me and now Emily is, too. I’m going to be fired.”

        141.197.        On January 12, 2021, Ms. Sousa received an email from ACI Investigator

Mike Williams, who introduced himself as the investigator on her claims against Dorsey.

        142.198.        On January 15, 2021, Ms. Sousa spoke for about two hours over the phone

with Mr. Williams. During the call, Mr. Williams requested that Ms. Sousa send him

screenshots of text and Chime messages with Dorsey and phone records showing the calls with

him.



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        143.199.        On February 17, 2021, Ms. Sousa sent Mr. Williams the materials he

requested and requestedasked for an update on the investigation. Mr. Williams did not respond,

so Ms. Sousa sent a follow-up email on March 1, 2021.

        144.200.        On March 4, 2021, Ms. Sousa had a follow-up call with Mr. Williams in

which he asked her additional questions. Mr. Williams requested that Ms. Sousa create a

timeline of events, which she then created and sent to him on March 12, 2021.

        201.    Over the course of their “investigation,” Amazon spoke with Mr. Morales-

Ramirez. After Mr. Morales-Ramirez spoke to HR, several white male Level 6 managers pulled

him aside in an office and asked what he had told HR. This was no doubt an attempt to

intimidate him in order to ensure that anyone else interviewed would not speak against Dorsey

lest they be subjected to retaliation.

        145.202.        On March 18, 2021, Mr. Williams emailed Ms. Sousa to notify her that he

had concluded his investigation. He invited her to join a call to discuss his findings.

        146.203.        The call took place on March 19, 2021, and Dina Horvath and HR

Business Partner Deanna Stephens joined the call, in addition to Mr. Williams.

        147.204.        Mr. Williams advised Ms. Sousa that all of her claims against Dorsey were

unsubstantiated. Specifically, he stated that he was not able to substantiate that Dorsey sexually

harassed her. Mr. Williams also stated he could not substantiate that Dorsey was engaged in a

relationship with another associate, despite this being well-known information within the

Company.

        205.    This transparently was an attempt to help mitigate the Company’s liability and/or

to dissuade Ms. Sousa from taking further action, as the facts of Dorsey’s actions were well-

established and he had engaged in similar conduct with various female employees. In addition,




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for Amazon to state that no harassment took place, even under its own policies, which do not

require that harassment rise to any particular legal standard, reveals the insincerity and falsity of

the findings.

       148.206.        Ms. Sousa was further advised that when her leave of absence ended, she

would be required to return to work at the same facility where Dorsey worked.

       149.207.        The Company advisedclaimed to Ms. Sousa that she could not apply for a

transfer to a different facility while she was on leave and that she could do so only after returning

to work. Nonsensically, Ms. Sousa was told that this was the Company’s policy out of “fairness”

to other employees. During this call, Ms. Sousa wasfound herself physically shaking at the

thought of Amazon requiring her to return to work with the man who had continuously harassed

her for months, had blatantly retaliated against her for not giving in to him, and about whom she

had already complained to HR. This greatly increased the anxiety Ms. Sousa felt at the thought

of returning to work with Dorsey.

       208.     Ms. Sousa would have been forced to see and interact with Dorsey during

overlapping shifts and, as her superior, he would have retained a significant degree of control

over her employment.

       209.     In fact, throughout Ms. Sousa’s leave, Dorsey continued to be listed as her

manager in all HR documents. This was true until Ms. Sousa’s very last day at Amazon.

       150.210.        Amazon’s gratuitously inflexible, cold response to Ms. Sousa’s reasonable

request to be transferred to a new facility has only increased the anxiety and pressure Ms. Sousa

iswas under. It iswas baffling to Ms. Sousa that Amazon believescould truly believe that Ms.

Sousashe should be forced to continue to work at the same facility where she was subjected to




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harassment and where her harasser continues to work (and even supervise her) before she

cancould request a transfer. (with no guarantee as to when or if it would happen).

       211.    As a result of the enormous anxiety Ms. Sousa experienced because ofThis refusal

by Amazon to allow her to seek a transfer appeared particularly retaliatory and dishonest due to

the fact that she previously had been allowed to transfer to a new facility without returning to the

site where she previously worked. Indeed, employees were quickly transferred and shuffled

around all the time, as also evidenced by her demotion.

       151.212.        The enormous anxiety Ms. Sousa was already under was exacerbated by

Amazon’s requirement that Ms. Sousa return to the same facility where Dorsey, her harasser,

worked, and Ms. Sousa had extended and continued to extend her leave on the advice of her

medical care provider on several occasions. Indeed, because of this anxiety, Ms. Sousa’s doctor

repeatedly over the course of months deemed her to be unable to return to work at Amazon

because of the immense anxiety and other symptoms of distress she experienced.

       213.    Amazon promoted Dorsey to Station Manager in or around July 2021, just a few

months after Ms. Sousa’s complaint and the Company’s sham investigation.

       152.214.        Ultimately, Ms. Sousa’s anxiety about returning to work with Dorsey and

Amazon’s falsely inflexible and retaliatory stance that she wouldcould not be permitted to seek a

transfer until after she returned to work ledforced Ms. Sousa to seek other employment. On July

7, 2021, Ms. Sousa notified Amazon that she was leaving her employment to work for a different

company owned by Amazon.

       215.    Ms. Sousa was so desperate to avoid returning to work with Dorsey and suffer

additional harassment and retaliation that she left a $50,000 a year managerial job for a $15 an

hour position with a different company. She was willing to do anything she had to in order to




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escape that coercive situation in which she could not even count on the Company’s upper

management or employee relations functions to take basic steps to provide her with a safe work

environment, acknowledge inappropriate or offensive conduct, or address very reasonable

employee concerns.

         153.216.      Amazon’s actions amountamounted to a constructive discharge of Ms.

Sousa.

    VIII. MS. SOUSA RECEIVES REPEATED HARASSING PHONE CALLS
          FOLLOWING THE CONCLUSION OF AMAZON’S SHAM
          INVESTIGATION

         217.   The stress, anxiety and debilitating distress that Ms. Sousa was under to the extent

that a refusal to allow her to transfer amounted a constructive discharge becomes all the more

clear when it is revealed that Ms. Sousa also was subjected to anonymous, harassing phone calls

for a time after the conclusion of Amazon’s second sham investigation.

         218.   At 2:06 PM on March 19, 2021, only about one hour after the conclusion of the

call with Amazon’s HR regarding the end and supposed findings of their investigation, Ms.

Sousa received a call that appeared as “No Caller ID” on her phone. She did not answer that

call.

         219.   At 4:56 PM, Ms. Sousa received a second call that appeared as “No Caller ID.”

Assuming the call was from Mr. Williams, Ms. Sousa answered and said, “Hello, Michael.” The

voice on the other line, which sounded like Dorsey, responded, “Hello, Em. Do you know who

this is?” A shock went through Ms. Sousa and she was paralyzed with fear—she could not

believe someone was actually doing this to her.

         220.   Shocked and not knowing how to respond, Ms. Sousa remained frozen in silence

for a long moment. When Ms. Sousa said that she did not know who was calling, the caller




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stated, “Come on, you’re killing me. You really don’t know?” Ms. Sousa responded by saying,

“No, you’re scaring me. Who is this?”

       221.     The caller continued to refuse to identify himself, instead offering to give Ms.

Sousa a hint and stating, “You don’t want to guess?” At this time, Ms. Sousa began to breathe

shakily and the caller hung up.

       222.     On March 20, 2021, Ms. Sousa received three more calls like this one.

       223.     The first call on March 20, 2021, was received at 10:37 AM. Once again, the call

showed up as “No Caller ID,” and the same man’s voice was on the other end of the line. When

Ms. Sousa asked who it was, the caller responded, “You didn’t figure it out yet?” Ms. Sousa

asked, “Do I know you?” The caller responded, “Definitely.”

       224.     Ms. Sousa then asked, “Are you from work?” At that point, the caller hung up.

       225.     Ms. Sousa received another call from “No Caller ID” at 4:25 PM on March 20,

2021. During this call, Ms. Sousa could hear heavy breathing on the other end of the line and the

caller hung up after 6 seconds without saying anything.

       226.     Just one minute later Ms. Sousa received a call from “Unknown Caller.” When

she answered, it was the same voice on the other end from the previous calls. The caller said

only, “Emily.” Ms. Sousa responded, “What do you want?” The caller responded, “You know

what I want.”

       227.     The caller then repeated, “You know what I want.” Ms. Sousa then said, “What

do you want? I’m curious.” After saying this, Ms. Sousa could hear the caller whispering to

someone, a door closing in the background and then the call hung up.




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        228.   The next morning, Ms. Sousa received two more calls from “No Caller ID.” The

first, at 9:25 AM, she did not answer. The calls showed no sign of letting up and it was taking a

serious toll on Ms. Sousa.

        229.   On March 21, 2021 at 9:37 AM, Ms. Sousa received another phone call from “No

Caller ID” and answered with her father, Brian Sousa. The caller asked Ms. Sousa, “Did you

figure it out yet?” Mr. Sousa responded forcefully, “I’m about to figure you out, buddy.”

        230.   Upon hearing Mr. Sousa’s voice, the caller immediately hung up and Ms. Sousa

did not receive any additional harassing phone calls.

        231.   These calls caused Ms. Sousa’s already fragile mental and emotional state to

deteriorate further. Her anxiety increased and she began to fear for her safety when out in public

and at home. For example, in public Ms. Sousa found herself frightened and always seeking to

be aware of her surroundings due to feeling threatened and exposed after the terrifying calls. At

home, Ms. Sousa still felt uneasy and was always sure to make sure all of the doors were locked.

This increased stress caused her to start losing her hair. This state of increased anxiety and

hypervigilance lasted for about 6 months.

        154.232.       Again, Amazon’s retaliatory, false, cruel and pretextual refusal to allow

Ms. Sousa to transfer work locations to get away from her harasser constituted a clear

constructive discharge as she could not be expected to return to the same work situation, where

her harasser worked and held sway (and whose harassment continued even after she told him she

needed to resign or go on leave), and which had made her ill and necessitated her leave in the

first place.




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                               FIRST CAUSE OF ACTION
        (Race, Ethnicity, National Origin and/or Sex/Gender Discrimination under )
                   (Violation of Title VII of the Civil Rights Act of 1964)
                 Against Amazon.com, Inc. and Amazon.com Services LLC

       155.233.        Plaintiff hereby repeats, reiterates, and realleges each and every allegation

in the preceding paragraphs, as though set forth fully herein.

       156.234.        Defendants Amazon.com, Inc. and Amazon.com Services LLC have

discriminated against Plaintiff on the basis of her race (Asian), ethnicity (Japanese), national origin

(Japan) and/or sex/gender (female/woman) in violation of Title VII by subjecting her to disparate

treatment of employment available to non-Asian, non-Japanese and male employees, including,

but not limited to, subjecting her to disparate working conditions, denying her terms and conditions

of employment equal to that of her co-workers who do not belong to the same protected categories,

and denying her the opportunity to work in an employment setting free of unlawful discrimination

and harassment.

       157.235.        These actions are in direct violation of Title VII of the Civil Rights Act of

1964, as amended.

       158.236.        As a direct and proximate result of Defendants’ unlawful discriminatory

conduct in violation of Title VII, Plaintiff has suffered, and continues to suffer, monetary and/or

economic harm for which she is entitled to an award of monetary damages and other relief.

       159.237.        As a direct and proximate result of Defendants’ unlawful discriminatory

conduct in violation of Title VII, Plaintiff has suffered, and continues to suffer, severe mental

anguish, physical harm, and emotional distress for which she is entitled to an award of monetary

damages and other relief.

       160.238.        Defendants’ unlawful discriminatory and wrongful conduct constitutes a

willful and wanton violation of Title VII, was outrageous and malicious, was intended to injure



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Plaintiff, and was committed with conscious disregard of Plaintiff’s civil rights, entitling Plaintiff

to an award of punitive damages.

                               SECOND CAUSE OF ACTION
       (Retaliation in Sex/Gender Discrimination – Quid Pro Quo Sexual Harassment)
                     (Violation of Title VII of the Civil Rights Act of 1964)
                  Against Amazon.com, Inc. and Amazon.com Services LLC

        161.239.       Plaintiff hereby repeats, reiterates, and re-alleges each and every allegation

as contained in each of the preceding paragraphs, as though fully set forth herein.

        240.    Defendants Amazon.com, Inc. and Amazon.com Services LLC’s conduct

constitutes quid pro quo sexual harassment in violation of Title VII in that, during the course of

her employment, Plaintiff was subjected to unwelcomed sexual advances by her

manager/superior/supervisor that were motivated by her gender.

        241.    Plaintiff’s repeated rejections of the unwanted sexual and romantic advances served

as the basis for Amazon.com, Inc. and Amazon.com Services LLC’s employment decisions

concerning Plaintiff, as alleged herein.

        242.    These actions are in direct violation of Title VII of the Civil Rights Act of 1964, as

amended.

        243.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of Title VII, Plaintiff has suffered, and continues to suffer, monetary and/or economic

harm for which she is entitled to an award of monetary damages and other relief.

        244.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of Title VII, Plaintiff has suffered, and continues to suffer, severe mental anguish,

physical harm, and emotional distress for which she is entitled to an award of monetary damages

and other relief.




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       245.    Defendants’ unlawful discriminatory and wrongful conduct constitutes a willful

and wanton violation of Title VII, was outrageous and malicious, was intended to injure Plaintiff,

and was committed with conscious disregard of Plaintiff’s civil rights, entitling Plaintiff to an

award of punitive damages.

                               THIRD CAUSE OF ACTION
           (Race, Ethnicity, National Origin and/or Sex/Gender Discrimination –
                          Hostile Work Environment Harassment)
                   (Violation of Title VII of the Civil Rights Act of 1964)
                  Against Amazon.com, Inc. and Amazon.com Services LLC

       246.    Plaintiff hereby repeats, reiterates, and re-alleges each and every allegation as

contained in each of the preceding paragraphs, as though fully set forth herein.

       247.    Defendants Amazon.com, Inc. and Amazon.com Services LLC’s conduct

constitutes hostile work environment harassment in violation of Title VII in that, throughout the

course of her employment, Plaintiff was subjected by her managers/superiors/supervisors and/or

other employees to unwelcomed sexual advances and other inappropriate and offensive conduct

on the basis of and/or which she was subject to because of her protected characteristics, and was

denied terms and conditions of employment equal to that of her co-workers who do not belong to

the same protected categories.

       248.    The harassing conduct to which Plaintiff was subjected was severe and pervasive

and created an environment that a reasonable person would consider intimidating, hostile, or

abusive and enduring such harassment was a condition of Plaintiff’s continued employment with

Amazon.com, Inc. and Amazon.com Services LLC.

       249.    Such conduct was motivated by Plaintiff’s race, ethnicity, national origin, and/or

gender/sex.




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        250.     These actions are in direct violation of Title VII of the Civil Rights Act of 1964, as

amended.

        251.     As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of Title VII, Plaintiff has suffered, and continues to suffer, monetary and/or economic

harm for which she is entitled to an award of monetary damages and other relief.

        252.     As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of Title VII, Plaintiff has suffered, and continues to suffer, severe mental anguish,

physical harm, and emotional distress for which she is entitled to an award of monetary damages

and other relief.

        253.     Defendants’ unlawful discriminatory and wrongful conduct constitutes a willful

and wanton violation of Title VII, was outrageous and malicious, was intended to injure Plaintiff,

and was committed with conscious disregard of Plaintiff’s civil rights, entitling Plaintiff to an

award of punitive damages.

                                 FOURTH CAUSE OF ACTION
               (Retaliation in Violation of Title VII of the Civil Rights Act of 1964)
                    Against Amazon.com, Inc. and Amazon.com Services LLC

        254.     Plaintiff hereby repeats, reiterates, and re-alleges each and every allegation as

contained in each of the preceding paragraphs, as though fully set forth herein.

        162.255.        By the actions described above, among others, Defendants retaliated against

Plaintiff for complaining about, objecting to , and resisting unequal treatment and harassment on

the basis of race, ethnicity, national origin and/or sex/gender by, inter alia, forcing her to switch

facilities, demoting her, subjecting her to further harassment, and subjecting her to retaliatory and

discriminatory treatment that subjected her to stress, anxiety and pressure that forced her to go out




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on medical leave, and constructively discharging her employment because of her engagement in

protected activities protected under Title VII.

          163.256.        As a direct and proximate result of the unlawful retaliatory conduct

committed by Defendants in violation of Title VII, Plaintiff has suffered, and continues to suffer,

monetary and/or other economic harm for which she is entitled to an award of monetary damages

and other relief.

          164.257.        As a direct and proximate result of the unlawful retaliatory conduct

committed by Defendants in violation of Title VII, Plaintiff has suffered, and continues to suffer,

severe mental anguish, physical harm, and emotional distress, including, but not limited to,

humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-confidence, and

emotional pain and suffering for which she is entitled to an award of monetary damages and other

relief.

          165.258.        Defendants’ unlawful and retaliatory actions were done with willful

negligence, or recklessness, or a conscious disregard of the rights of Plaintiff or conduct so reckless

as to amount to such disregard of Plaintiff’s protected rights under Title VII, for which Plaintiff is

entitled to an award of punitive damages.

                                THIRDFIFTH CAUSE OF ACTION
                     ((Race and/or Ethnicity Discrimination and Harassment in )
                                     (Violation of Section 1981)
                                       Against All Defendants

          166.259.        Plaintiff hereby repeats, reiterates, and re-alleges each and every

allegation in each of the preceding paragraphs, as though fully set forth herein.

          167.260.        Defendants have discriminated against Plaintiff on the “but for” basis and

because of her race (Asian) and ethnicity (Japanese) in violation of Section 1981 by denying her

the same terms and conditions of employment available to non-Asian and non-Japanese



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employees (which would not have occurred if not for Plaintiff’s Asian race and Japanese

ethnicity), including, but not limited to, subjecting her to disparate working conditions, denying

her terms and conditions of employment equal to that of her co-workers who do not belong to the

same protected categories, and denying her the opportunity to work in an employment setting

free of unlawful discrimination.

       168.261.        Defendants have discriminated against Plaintiff on the basis of her race

and ethnicity in violation of Section 1981 by fostering, condoning, accepting, ratifying, and/or

otherwise failing to prevent or to remedy a discriminatory work environment that has included,

among other things, severe and pervasive discrimination.

       262.     As a direct and proximate result of Defendants’ unlawful discriminatory conduct

and harassment in violation of Section 1981, Plaintiff has suffered, and continues to suffer,

mental anguish, physical harm, and emotional distress, including but not limited to, depression,

humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-confidence, and

emotional pain and suffering, as well as physical injury, for which she is entitled to an award of

damages and other relief.

       263.     Defendants’ unlawful and discriminatory actions constitute malicious, willful, and

wanton violations of Section 1981, for which Plaintiff is entitled to an award of punitive

damages.

                                SIXTH CAUSE OF ACTION
              (Race and/or Ethnicity Discrimination – Hostile Work Environment)
                                  (Violation of Section 1981)
                                    Against All Defendants

       264.     Plaintiff hereby repeats, reiterates, and re-alleges each and every allegation in

each of the preceding paragraphs, as though fully set forth herein.




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       265.    Defendants Amazon.com, Inc. and Amazon.com Services LLC’s conduct

constitutes hostile work environment and/or quid-pro-quo harassment in violation of Section 1981

in that, throughout the course of her employment, Plaintiff was subjected by her

superiors/supervisors and/or other employees to near constant abuse and harassment including

unwelcomed sexual advances that were based on her race (Asian) and Ethnicity (Japanese), and

was denied terms and conditions of employment equal to that of her co-workers who do not belong

to the same protected categories.

       266.    The harassing conduct to which Plaintiff was subjected was severe and pervasive

and created an environment that a reasonable person would consider intimidating, hostile, or

abusive and enduring such harassment was a condition of Plaintiff’s continued employment with

Amazon.com, Inc. and Amazon.com Services LLC.

       267.    Defendants have discriminated against Plaintiff on the basis of her race and

ethnicity in violation of Section 1981 by fostering, condoning, accepting, ratifying, and/or

otherwise failing to prevent or to remedy a discriminatory work environment that has included,

among other things, severe and pervasive discrimination.

       169.268.        As a direct and proximate result of Defendants’ unlawful discriminatory

conduct and harassment in violation of Section 1981, Plaintiff has suffered, and continues to

suffer, mental anguish, physical harm, and emotional distress, including but not limited to,

depression, humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-

confidence, and emotional pain and suffering, as well as physical injury, for which she is entitled

to an award of damages and other relief.




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       170.269.        Defendants’ unlawful and discriminatory actions constitute malicious,

willful, and wanton violations of Section 1981, for which Plaintiff is entitled to an award of

punitive damages.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

Defendants for the following relief:

       A.      A declaratory judgment that the actions, conduct, and practices of Defendants

complained of herein violate the laws of the United States;

       B.      Injunctive relief commanding Defendants to cease the unlawful actions, conduct

and practices in which they have engaged under the laws of the United States;

       B.C.    An award of damages against Defendants, in an amount to be determined at trial,

plus interest, to compensate Plaintiff for all monetary and/or economic damages;

       C.D.    An award of damages against Defendants, in an amount to be determined at trial,

plus interest, to compensate for all monetary and/or compensatory damages, including, but not

limited to, compensation for Plaintiff’s physical harm and emotional distress;

       D.E.    An award of liquidated damages equal to the amount of Plaintiff’s past and future

lost wages;

       E.F.    An award of punitive damages in an amount to be determined at trial;

       F.G.    Prejudgment interest on all amounts due;

       G.H.    Post-judgment interest as may be allowed by law;

       H.I.    An award of Plaintiff’s reasonable attorneys’ fees and costs; and

       I.J.    Such other and further relief as the Court may deem just and proper.




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                                       JURY DEMAND

       Plaintiff hereby demand a trial by jury on all issues of fact and damages stated herein.



                                                     ALLEN & ASSOCIATES

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Dated: January 12, 2022




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